     Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 1 of 12




                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

DONALD ALI, Individually and
On Behalf of All Others
Similarly Situated,
                                                      CIVIL ACTION NO. ______________
                                        Plaintiff,
                                                           JURY TRIAL DEMANDED
                       vs.

CDM FEDERAL PROGRAMS
CORPORATION and CDM SMITH INC.,

                                     Defendants.


                      PLAINTIFF’S ORIGINAL COMPLAINT
               FLSA COLLECTIVE ACTION & RULE 23 CLASS ACTION


                                        I. SUMMARY

1.     Plaintiff and the employees he seeks to represent are current and former employees of

CDM Federal Programs Corporation and its parent company, CDM Smith Inc. (“Defendants”)

who worked within the past six (6) years. Defendants knowingly, deliberately, and voluntarily

failed to pay their employees for all hours worked over forty in a workweek at the federal and

state mandated overtime rate.

2.     Plaintiff seeks to recover unpaid wages and other damages owed under the Fair Labor

Standards Act (FLSA) as a 29 U.S.C. 216(b) collective action and the New York Labor Law

(NYLL) as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure.

                                II. JURISDICTION & VENUE

3.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because this case

is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et. seq. and pursuant to the Class

Action Fairness Act, 28 U.S.C. 1332(d). The Court has supplemental jurisdiction over the state
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 2 of 12




law claims pursuant to 28 U.S.C. § 1367.

4.     The Eastern District of New York has personal jurisdiction over Defendants because they

do business in New York and in this judicial district.        Additionally, Plaintiff worked for

Defendants in the Eastern District of New York during the relevant period.

5.     Venue is proper in this District pursuant to 28 U.S.C § 1391(b)(2) because a substantial

part of the events giving rise to the claim occurred in this District, including many of the wrongs

herein alleged.

6.     The proposed class action includes a total number of plaintiffs in excess of 100.

7.     The amount in controversy, once the individual claims are aggregated, is in excess of

$5,000,000, exclusive of interests and costs.

8.     The named Plaintiff is a resident of a state that is different than the state of residence of

Defendants.

                                          III. PARTIES

9.     At all times relevant herein, Plaintiff Donald Ali was an employee of Defendants. Plaintiff

worked for Defendants in furtherance of Defendants’ natural disaster relief services provided

throughout New York from approximately September 2016 to approximately July 2020. Plaintiff

is a resident of Orange County Florida. During his employment with Defendants, Plaintiff

regularly worked hours in excess of forty hours per week without receiving overtime

compensation as required by federal and New York law.

10.    Plaintiff’s consent to sue form is attached as Exhibit A.

11.    Plaintiff and all other similarly situated employees were subject to a compensation policy

instituted by the Defendants which, by its terms, did not legally compensate them for all hours

worked at the federally and New York mandated overtime rate.



                                                 2
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 3 of 12




12.    The Class Members are current and former New York employees of Defendants who were

paid straight time and not paid overtime at the statutory rate directed by the FLSA and the NYLL.

13.    At all relevant times, Plaintiff and the Class Members were “employees” of the

Defendants as defined by 29 U.S.C. § 203(e) and NYLL §§ 190(2) and 651(5).

14.    Defendants are corporations organized in Massachusetts. Defendants may be served

through their registered agent for service, CT Corporation System, 1999 Bryan St., Suite 900,

Dallas, Texas 75201-3136.

15.    At all relevant times, Defendants were and are an "employer" of Plaintiff and Class

Members as defined by 29 U.S.C. § 203(d) and NYLL §§190(3) and 651(6).

                                           IV. FACTS

16.    Defendants are part of an organization that secured contracts with the Federal Emergency

Management Agency (“FEMA”). Specifically, Defendants contract with FEMA to provide

services related to natural disaster recovery in New York.

17.    Plaintiff worked for Defendants throughout New York from on or about September 2016

through on or about July 2020.

18.    Defendants classified Plaintiff as a W-2 employee and paid him on an hourly basis.

19.    Plaintiff worked overtime (i.e., more than 40 hours per week) for Defendants on numerous

occasions during the relevant time period. Plaintiff worked, at a minimum, ten hour per daily

shift and would routinely work twelve or more hour shifts each day. Plaintiff routinely worked

five to 7 shifts per week.

20.    Defendants did not pay Plaintiff any additional pay for overtime hours that he worked

during the relevant time period.

21.    Instead, Defendants paid Plaintiff his hourly rate (i.e., “straight time”) for each accepted



                                                3
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 4 of 12




work hour he recorded in the company’s timekeeping system, including his overtime hours.

22.     Defendants paid all similarly situated employees in the same manner.

23.     By engaging in this pay practice, Defendants deprived employees of their right under New

York labor law and the FLSA to receive time-and-a-half pay for their overtime hours.

24.     Defendants’ employees are entitled to overtime for each hour worked in excess of forty in

a workweek. However, Defendants failed to compensate them as required by New York and the

FLSA.

25.     Defendants owe Plaintiff .5 times his regular rate of pay for each recorded overtime hour

he worked each week during the relevant time period, plus liquidated damages in the same

amount.

26.     Plaintiff is also entitled to an award for all reasonable attorneys’ fees and costs associated

with prosecuting this lawsuit.

27.     Defendants’ compensation policy and practice does not satisfy the salary-basis test for

exempt employees. See 29 C.F.R. § 541.602(a)(1) (“[A]n exempt employee must receive the full

salary for any week in which the employee performs any work without regard to the number of

days or hours worked.”).

28.     When Plaintiff recorded fewer than 40 hours, Defendants paid him a standard hourly rate

for each hour he recorded, just as it did when he recorded more than 8 hours in a day or 40 hours

in a week. Defendants’ policy and practice of paying Plaintiff in this manner does not satisfy the

salary-basis test for exempt employees.

29.     Plaintiff’s work also does not satisfy the job-duties requirements for any overtime-pay

exemptions under the FLSA.

30.     Defendants’ method of paying Plaintiff and all similarly situated employees in violation



                                                  4
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 5 of 12




of the FLSA and New York labor laws was willful and was not based on a good faith and

reasonable belief that their conduct complied with the law.

31.    Defendants’ pay scheme was not by accident, but a well thought out plan to reduce their

labor costs.

32.    Defendants knew the requirement to pay overtime to their employees, but they

intentionally and/or recklessly chose not to do so.

33.    Defendants receive FEMA funding for their work. To be eligible to receive FEMA funds,

Defendants agreed to comply with federal laws including the FLSA. As such, Defendants were

on notice to comply with FLSA wage laws, but chose not to do so.

34.    Upon information and belief, Defendants investigated the wage laws and knew the

requirement to pay overtime wages. Nevertheless, they chose not to pay overtime wages to

Plaintiff and other similarly situated employees. Accordingly, Defendants’ violations of the FLSA

were willful.

35.    When Plaintiff and other similarly situated employees of Defendants work more than ten

hours in a single work day, they are/were not paid according to the New York Department of

Labor spread of hour regulations. N.Y. COMP.CODES R. & REGS. tit. 12, § 142-2.4.

                        V. COLLECTIVE ACTION ALLEGATIONS

36.    Plaintiff brings this complaint as a collective action pursuant to Section 16(b) of the FLSA,

29 U.S.C. § 216(b), on behalf of all current and former New York employees who were paid

straight time instead of time-and-a-half for recorded overtime hours (hours over 40 in each

workweek) within three (3) years from the commencement of this action up to the present.

37.    Pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), this complaint may be brought

as an “opt-in” collective action for all claims asserted by Plaintiff because his claims are similar



                                                 5
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 6 of 12




to the claims of the putative plaintiffs of the representative action.

38.    Plaintiff is similarly situated to the putative Plaintiffs with regards to his job duties. They

were subject to Defendants’ common practice, policy, or plan of refusing to pay employees

overtime in violation the FLSA. Plaintiff and the putative plaintiffs were victims of a common

policy or plan that violated the law.

39.    The names and addresses of the putative members of the representative action are available

from Defendants. To the extent required by law, notice will be provided to these individuals via

First Class Mail, email, and/or by the use of techniques and a form of notice similar to those

customarily used in representative actions.

                             VI. CLASS ACTION ALLEGATIONS

40.    The claims arising under the New York State Labor Law are properly maintainable as a

class action under Rule 23 of the Federal Rules of Civil Procedure.

41.    Plaintiff brings this action on behalf of himself and all others similarly situated,

pursuant to Rule 23 of the Federal Rules of Civil Procedure, and seeks to certify a class as

follows:

              All of Defendants’ current and former employees who work or
              worked in New Yok and are or were paid straight time instead of
              time-and-a-half for hours worked in excess of 40 hours in
              individual workweeks (overtime) during the six years prior to
              the commencement of this suit through the present.

42.    Defendants’ policy of failing to pay overtime affects members of the Class in a

substantially similar manner. Plaintiff and the Class Members have claims based on the same legal

and remedial theories. Plaintiff and Class Members have claims based on the same facts.

Plaintiff’s claims are therefore typical of the Class Members.

43.    Although Plaintiff does not know the precise number of members of the proposed class,



                                                   6
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 7 of 12




there are hundreds and the members of the class are numerous and geographically dispersed across

the state and the country so that joinder is impracticable. The identity of the members of the class

is readily discernible from Defendants’ records.

44.     Plaintiff and the Class Members on one hand, and Defendants on the other, have a

commonality of interest in the subject matter and remedy sought, namely back wages plus

penalties, interest, attorneys’ fees and the cost of this lawsuit.

45.     If individual actions were required to be brought by each of the similarly-situated persons

affected, it would necessarily result in multiplicity of lawsuits, creating a hardship to the

individuals and to the Court, as well as to Defendants. Accordingly, a class action is an appropriate

method for the fair and efficient adjudication of this lawsuit and distribution of the common fund

to which the Class Members are entitled.

46.     There are questions of law and fact that are common to all members of the proposed class,

and these questions predominate over any question affecting only individual class members.

47.     Plaintiff will fairly and adequately protect the interests of the proposed class in the

prosecution of this action and in the administration of all matters relating to the claims stated

herein. Plaintiff has no interests antagonistic to the members of the proposed classes. Plaintiff is

committed to the vigorous prosecution of this case as a class action and has retained counsel who

are experienced in class action litigation in general and wage and hour litigation in particular.

48.     The Class Action is a superior form to resolve the NYLL claims because of the common

nucleus of operative fact centered on the continued failure of Defendants to pay its employees

according the provisions of the NYLL and the FLSA.

49.     The Plaintiff and similarly situated employees of Defendants herein seeking class status

are seeking to remedy a common legal grievance.



                                                   7
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 8 of 12




50.    Defendants’ policy of refusing to pay legally required wages to its employees provides a

common factual and causal link between all the Class Members which positions them in

opposition to Defendants.

51.    In this action, common issues will be the object of the majority of the efforts of the litigants

and the Court. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The Named Plaintiff and the putative class lack the financial

resources to adequately prosecute separate lawsuits against Defendants. A class action will also

prevent unduly duplicative litigation resulting in inconsistent judgments pertaining to the

Defendants’ policies.

                                   VII. CAUSES OF ACTION

                                              Count I
                            Violation of the Fair Labor Standards Act
                                             Overtime
                                        (Collective Action)

52.    Plaintiff incorporates the preceding paragraphs by reference.

53.    This count arises from Defendants’ violation of the FLSA 29 U.S.C. 201, et seq., for their

failure to pay Plaintiff and the members of the Class all their earned overtime pay for the time

worked in excess of 40 hours in individual workweeks.

54.    For all the time worked in excess of 40 hours in individual workweeks, Plaintiff and the

Class members were entitled to be paid one and one-half times their regular rates of pay.

55.    Defendants violated the FLSA by failing to compensate Plaintiff and the Class members

consistent with the FLSA with respect to the amount of work actually performed over 40 hours

per week.

56.    Defendants’ failure to pay overtime to Plaintiff and the Class Members, in violation of the

FLSA, was willful and was not based on a good faith and reasonable belief that its conduct did


                                                  8
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 9 of 12




not violate the FLSA. The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a).

57.    Plaintiff will seek to certify Count I, violation of the overtime provisions of the FLSA, as

a collective action and asks the Court to determine the rights of the class pursuant to the FLSA,

determine any damages due, and to direct Defendants to account for all back wages, penalties and

prejudgment interest thereon due to Plaintiff and the other employees he represents.

                                            Count II
                             Violation of the New York Labor Law
                                            Overtime
                                         (Class Action)

58.    Plaintiff incorporates the preceding paragraphs by reference.

59.    This count arises from Defendants’ violation of the NYLL Art. 6, Section 191, for their

failure to pay Plaintiff and the Class Members all their earned overtime pay for the time worked

in excess of 40 hours in individual workweeks. For all the time worked in excess of 40 hours in

individual workweeks, Plaintiff and the Class Members were entitled to be paid one and one-half

times their regular rates of pay. In addition, the Class is entitled to receive liquidated damages.

60.    Defendant has violated the NYLL by failing to compensate Plaintiff and the Class

Members consistent with the maximum hour provisions decreed in the NYLL.

61.    Plaintiff will seek to certify Count II, a violation of the overtime provisions of the

NYLL, as a class action and asks the Court to determine the rights of the class pursuant to the

NYLL, award all damages due, including, but not limited to, liquidated damages, and to direct

Defendant to account for all back wages, prejudgment interests and all other damages due to

Plaintiff and the class he represents.




                                                  9
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 10 of 12




                                           Count III
                            Violation of the New York Labor Law
                                       Spread of Hours
                                        (Class Action)

62.    Plaintiff incorporates the preceding paragraphs by reference.

63.    This count arises from Defendant’s violation of the NYLL, specifically Defendants’

violation of New York State Department of Labor Regulation§ 142-2.4, which stipulates that an

employee shall receive one hour’s pay at the basic minimum hourly wage rate in addition to the

minimum wage required for any day in which said employee works for ten or more hours.

64.    Defendants violated the NYLL by failing to comply with their obligation to pay Plaintiff

and the Class Members the additional hour of wages required by N.Y. COMP. CODES R. &

REGS. tit. 12, § 142-2.4 on those days when Plaintiff and Class Members in fact worked for ten

or more hours.

65.    Plaintiff will seek to certify Count III, a violation of the NYLL and associated

regulations, including N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.4, as a class action and asks

the Court to determine the rights of the class pursuant to the NYLL, award all damages due,

including, but not limited to, liquidated damages, and to direct Defendants to account for all back

wages, prejudgment interests and all other damages due to Plaintiff and the class he represents.

                                     VIII. JURY DEMAND

66.    Plaintiff hereby demands a trial by jury.

                                  IX. PRAYER FOR RELIEF

67.    For these reasons, Plaintiff, on behalf of himself and all proposed members of the FLSA

collective action and NYLL class action, prays for relief as follows:

68.    With Respect to the FLSA violation:

69.    Designation of this action as a collective action on behalf of the proposed members of the


                                                   10
      Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 11 of 12




FLSA representative action and prompt issue of notice pursuant to 29 U.S.C. § 216(b) to all

similarly situated members of the FLSA opt-in class apprising them of the pendency of this action

and permitting them to assert timely FLSA claims in this action by filing individual Consents to

Sue pursuant to 29 U.S.C. § 216(b);

70.    Designation of Plaintiff Donald Ali as Representative Plaintiff of the putative members of

the FLSA representative action;

71.    A declaratory judgment that the practices complained of in this complaint are unlawful

under the FLSA;

72.    An injunction against Defendants and its officers, agents, successors, employees,

representatives, and any and all persons acting in concert with Defendants, as provided by law,

from engaging in the unlawful practice, policy, and pattern detailed in this complaint;

73.    Recovery of unpaid overtime compensation;

74.    An award of damages equal to all unpaid overtime wages as liquidated damages as

provided for in 29 U.S.C. § 216(b);

75.    Recovery of attorneys’ fees and costs as provided for in 29 U.S.C. §216(b);

76.    Pre-judgment and post-judgment interest at the highest rate permitted by law; and

77.    Any and all such other and further legal and equitable relief as this Court deems necessary,

just, and proper.

78.    With Respect to the Class, Plaintiff prays as follows:

79.    Certification of this action as a Class Action;

80.    Designation of the Named Plaintiff, Donald Ali, as class representative;

81.    Designation of the undersigned counsel as class counsel; and

82.    Entrance of a declaratory judgment that the actions complained of herein are unlawful.



                                                11
       Case 4:21-cv-00775 Document 1 Filed on 10/19/20 in TXSD Page 12 of 12




83.     With Respect to the New York State claims, Plaintiff prays as follows:

84.     Grant of judgment to the named Plaintiff and Class members including awarding statutory,

compensatory and liquidated damages as provided for under New York law;

85.     Award of pre-judgment and post-judgment interest, at the highest rate provided by law;

and,

86.     Awarding of Plaintiff his attorneys' fees and costs of suit, including expert fees.

Dated: October 15, 2020

                                               Respectfully submitted,

                                               SHELLIST LAZARZ SLOBIN LLP

                                               By:     /s/ Ricardo J. Prieto
                                                      Ricardo J. Prieto (pro hac vice pending)
                                                      State Bar No. 24062947
                                                      rprieto@eeoc.net
                                                      Melinda Arbuckle (pro hac vice pending)
                                                      State Bar No. 24080773
                                                      marbuckle@eeoc.net
                                                      11 Greenway Plaza, Suite 1515
                                                      Houston, Texas 77046
                                                      Telephone: (713) 621-2277
                                                      Facsimile: (713) 621-0993

                                               ATTORNEY-IN-CHARGE FOR NAMED AND
                                               OPT-IN PLAINTIFFS
                                                      &
                                               COOPER ERVING & SAVAGE LLP

                                               By:    /s/ Carlo A. C. de Oliveira___________
                                                      Carlo A. C. de Oliveira
                                                      Bar Roll No.: 516271
                                                      39 North Pearl Street, Fourth Floor
                                                      Albany, New York 12207
                                                      Telephone: (518) 449-3900
                                                      Facsimile: (518) 432-3111
                                                      E-mail: Cdeoliveira@coopererving.com
                                               LOCAL COUNSEL FOR NAMED AND
                                               OPT-IN PLAINTIFFS


                                                 12
